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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 BERNIECE BURSH,
                                                    Case No. 5:18-cv-00769-XR
       Plaintiff,
 v.                                                 Honorable Judge Xavier Rodriguez

 CONN APPLIANCES, INC.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff BERNIECE

BURSH, and the Defendant, CONN APPLICANCES, INC. , through their respective counsel that

the above-captioned action is dismissed, with prejudice, against CONN APPLIANCES, INC.,

pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.

Dated: July 3, 2019                                    Respectfully Submitted,

BERNIECE BURSH                                        CONN APPLIANCES, INC.
/s/ Nathan C. Volheim                                 /s/ Michael A. Harvey (with consent)
Nathan C. Volheim                                     Michael A. Harvey
Counsel for Plaintiff                                 Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim
